OAO 187 (Rev. 7/87) Exhibit and Witness List


                                      UNITED STATES DISTRICT COURT
                        EASTERN                               DISTRICT OF                                  TENNESSEE


         UNITED STATES OF AMERICA
                                                                                EXHIBIT AND WITNESS LIST
                  V.
        KATHLEEN LAWS GARRETT                                                     Case Number: 2:12-CR-21 (2)

PRESIDING JUDGE                                    PLAINTIFF’S ATTORNEY                         DEFENDANT’S ATTORNEY
         DENNIS H. INMAN                               SUZANNE KERNEY-QUILLEN                          WILLIAM L. RICKER
TRIAL DATE (S)                                     COURT REPORTER                               COURTROOM DEPUTY
    DETENTION HEARING 3/19/2013                            KAREN J. BRADLEY                                    CONNIE LAMB
 PLF.    DEF.     DATE
                             MARKED     ADMITTED                            DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.     NO.     OFFERED


 W              3/19/13                            CHRIS BIVENS
         W          "                              DEBORAH ANN SHELTON
 1                  "           /          /       CD of audio recordings




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.
                                                                                   Page 1 of 1 Pages


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